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  Attorney for Plaintiffs


                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

  Venice PI, LLC et al.                    )   Case No.: 1:18-cv-00192-LEK-KSC
                                           )   (Copyright)
                      Plaintiffs,          )
      vs.                                  )   STIPULATED CONSENT
                                           )   JUDGMENT BETWEEN
  DOE 1 et al.,                            )   PLAINTIFFS AND DEFENDANT
                      Defendants.          )   SOSA
                                           )
                                           )
                                           )
                                           )
                                           )
                                           )

            As attested to by the signatures of the Defendant JAMES SOSA and counsel

  for the Plaintiffs below, this matter comes before the Court on the parties’ joint

  stipulation.

            Plaintiffs have filed a First Amended Complaint [Doc. #26] against

  Defendant JAMES SOSA among others.



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        Plaintiffs complain and allege than Defendant JAMES SOSA induced

  infringement of their motion pictures in violation of U.S. copyright law.

        The parties, after conferral and investigation, now appear, Defendant

  JAMES SOSA pro se and Plaintiffs through counsel to fully and finally resolve all

  claims between the parties and the matters before the Court and have moved for

  entry of this Stipulated Consent Judgment to effect the terms of their settlement.

          WHEREFORE IT IS HEREBY STIPULATED AND ORDERED for all

    matters relevant to this case between the parties as follows:

          1. This court has jurisdiction over the parties and venue is proper.

          2. Plaintiffs have valid and enforceable copyrights in the original

    copyrighted works as identified in the Complaint [Doc. #1-1].

          3. As stated in Defendant JAMES SOSA’s declaration [Doc. #1-5],

    Defendant JAMES SOSA concedes to using the Show Box app to download at

    least a part of the motion picture Singularity on November 19, 2017 thereby

    infringing the Copyright of MON, LLC due to the deceptive and misleading

    language on the website showboxappdownload.com which led Defendant

    JAMES SOSA to believe that Show Box was a legitimate platform.

          4. Pursuant to the settlement agreement of the parties, the below

    Permanent Injunction is to be entered against Defendant.
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                            PERMANENT INJUNCTION

          Defendant is hereby PERMANENTLY ENJOINED from directly,

   contributorily or indirectly infringing Plaintiffs’ rights in their motion pictures,

   including without limitation by using the Internet to reproduce or copy any of

   Plaintiffs’ motion pictures, except pursuant to a lawful written license from

   Plaintiffs;

           Except as provided herein, each party is to bear their own costs and fees.

    With entry of this Consent Judgment, this matter is terminated with respect to

    Defendant JAMES SOSA.

   APPROVED AND SO ORDERED, this day: October 29, 2018.



                                                          /s/ Leslie E. Kobayashi
                                                          Leslie E. Kobayashi
                                                          United States District Judge




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  So Stipulated and Respectfully Submitted:



  On Behalf of Plaintiffs                       Defendant



  __/s/ Kerry S. Culpper _____                  _/s/ James Sosa _____
  Kerry S. Culpepper, Bar No. 9837              JAMES SOSA
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